Case 9:18-bk-10894-DS   Doc 60 Filed 12/06/18 Entered 12/06/18 16:00:44   Desc
                         Main Document     Page 1 of 4
Case 9:18-bk-10894-DS   Doc 60 Filed 12/06/18 Entered 12/06/18 16:00:44   Desc
                         Main Document     Page 2 of 4
Case 9:18-bk-10894-DS   Doc 60 Filed 12/06/18 Entered 12/06/18 16:00:44   Desc
                         Main Document     Page 3 of 4
Case 9:18-bk-10894-DS   Doc 60 Filed 12/06/18 Entered 12/06/18 16:00:44   Desc
                         Main Document     Page 4 of 4
